Case 2:10-cv-08888-CJB-JCW Document 79357 Filed 04/20/11 Page 1of3

IN RE: OIL SPILL by “Deepwater Horizon”

DIRECT FILING SHORT FORM"

Authorized by Order of the Court, Civil Action No. 10 md 21 79 Rec. Doc. 982 4
(Copies of said Order having also been filed in Civil Actions No. 10-8888 and 10-2771) 7% me <r SS

JUDGE CARL BARBIER

SINE MASTER COM PLA LA E FO |
By submitting this document, | am asserting a claim in Compiaint and Petition of Triton Asset Leasing GmbH, et
al., No. 10-2771; adopt and incorporate the Master Answer [Rec. Doc. 244] to the Complaint and Petition of Triton
Asset Leasing Gmbh, et al., in No. 10-2771; and/or intervene into, join and otherwise adopt the Master Complaint
[Rec. Doc. 879] for private economic losses (“B1 Bundle”) filed in MDL No. 2179 (10 md 2179); and/or intervene
inte, join and otherwise adopt the Master Complaint [Rec. Doc. 881] for post-explosion injuries (“B3 Bundle”)
filed in MDL No. 2179 (40 md 2179).

MDE 2179 SECTION: J

gu

! Last Name First Name > Middle Name/Maiden : Suffix
BARRETT HARRIS G
Phone Number on E-Mail Address
— (51) 767--5520 - miasaterbarrett@gmail.com
Address City / State / Zip
203 Bellevue Circle : Mobile, AL 36608
[ree einen
INDIVIDUAL CLAIM [a] BUSINESS CLAIM i
cmakayar Name vee ce cute anes ease nce se ee oc ctvennae ist otietetaeseae cone nent
Job Tithe / Description : Type of Business
Adcress ee - Address
. City / State /Zip eo vue pettus tet tee seatnuicneatnstntanesense fe Gity state | wip cities ci tanventventaseee
Last 4 digits of your Social Security Number : Last 4 digits of your Tax ID Number
0198 i
5
Attorney Name Firm Name
JEFF FRIEDMAN : FRIEDMANLEAK 2
| Address City / State / Zip
3800 CORPORATE WOODS DRIVE - BIRMINGHAM, AL 35242
Phone Number E-Mail Address
(205) 278-7000 jfredman@friedmanleak.com /mconn@friedmanteak.com
Claim filed with BF? YES O NO 7 ! Claim Filed with GCCF?: YES Mw NO Ci
If yes, BP Claim No.: If yes, Claimant Identification No.:

: Claim Type (Please check all that apply):

: Damage cr destruction to real or personal property
T Earnings/Prafit Loss
op Personal Injury/Death

Fear of Future Injury and/or Medical Monitoring
Loss of Subsistence use of Natura Resources
Removal and/or clean-up costs

Other:

Oooo

’ This form should be filed with the U.S. District Court for the Eastern District of Louisiana, 500 Poydras Street, New Orleans, Louisiana 70120, in Civil Action No.
10-8888. While this Direct Filing Short Form is to be filed in CA No. 10-8883, by prior order of the Caurt, (Rec. Dac, 246, C.A. No. 10-2771 and Rec. Dac. 982 in MDL
2179), the filing of this form in C.A. No. 10-8888 shall be deemed to be simultaneously filed in C.A. 10-2771 and MDL 2179. Plaintiff Liaisan Counsel, after being
notified electronically by the Clerk of Court of the filing of this Short Form, shall promptly serve this form through the Lexis Nexis service system an Defense Liaison.

The filing of this Direct Filing Short Form shail also serve in flew of the requirement of a Plaintiff to file a Plaintiff Profiie Form.

Case 2:10-cv-08888-CJB-JCW Document 79357 Filed 04/20/11 Page 2 of 3

Jr
Brief Description:

1. For earnings/profit loss, property damage and loss of subsistence use claims, describe the nature of the injury. For claims
involving real estate/property, include the property location, type of property {residential/commercial), and whether physical
damage occurred. For claims relating to fishing of any type, include the type and location of fishing grounds at issue.

Damages to residential property located at 154 Ethel Wingate Drive 507, Pensacola, Escambia
County, Florida 32507

2. For personat injury claims, describe the injury, how and when it was sustained, and identify all health care providers and
employers 2008 to present and complete authorization forms for each.

3. For post-explosion claims related to clean-up or removal, include your role in the clean-up activities, the name of your
employer, and where you were working.

2
The filing of this Direct Filing Short Form shail also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.
Case 2:10-cv-08888-CJB-JCW Document 79357 Filed 04/20/11 Page 3 of 3

Please check the box(es) below that you think apply to you and your claims:
Non-governmental Economic Loss and Property Damage Claims (Bundle B1)

3 1. Commercial fisherman, shrimper, crabber, or oysterman, or the owner and operator of a business invalving fishing, shrimping,
crabbing or oystering.

2. Seafood processor, distributor, retail and seafood market, or restaurant owner and operator, or an employee thereof.

OD 3. Recreational business owner, operator or worker, including a recreational fishing business, commercial guide service, or charter
fishing business who earn their living through the use of the Gulf of Mexica.

OO 4. Commercial business, business owner, operator or worker, including commercial divers, offshore oilfield service, repair and
supply, real estate agents, and supply companies, or an employee thereof.

[1 5. Recreational sport fishermen, recreational diver, beachgoer, or recreational boater.
OO 6. Plant and dock worker, including commercial seafood plant worker, longshoreman, or ferry operator.

[=] 7 Owner, fessor, or lessee of real property alleged to be damaged, harmed or impacted, physically or economicaliy, including
lessees of oyster beds.

8. Hotel owner and operator, vacation rental owner and agent, or all those who eam their living from the tourism industry.
OO 2. Bank, financial institution, or retail business that suffered losses as a result of the spill.
CJ 10. Person who utilizes natural resources for subsistence.

O11. Other:

Post-Explosion Personal Injury, Medical Monitoring, and Property Damage Related to Cleanup (Bundle B3}

C) +. Boat captain or crew involved in the Vessels of Opportunity program.
2. Worker involved in decontaminating vessels that came into contact with oil and/or chemical dispersants.

[) 3. Vessel captain or crew who was not involved in the Vessels of Opportunity program but who were exposed to harmful chemicals,
odors and emissions during post-explosion clean-up activities.

[] 4. Clean-up worker or beach personnel involved in clean-up activities along shorelines and intercoastal and Intertidal zones.
O 5. Resident who lives or works in close proximity to coastal waters.

O 6. Other:

Both BP and the Gulf Coast Claims Facility (“GCCF”) are hereby authorized to release to the Defendants in MDL

2179 all information and documents submitted by above-named Plaintiff and information regarding the status of any

payment on the claim, subject to such information being treated as “Confidential Access Restricted” under the Order

i ne Confi identalty Pre-Trial Order No. 11), and subject to full copies of same being made available to both
N\A Gb if ——e filing this form and PSC through Plaintiff Liaison Counsel.

Claimant or Attorney Signature

JEFF FRIEDMAN

Print Name

AAAAN

Date

3

The filing of this Direct Filing Short Form shall also serve in iiew of the requirement of a Plaintiff to file a Plaintiff Profile Form,
